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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


                                                  X
DIANA LEACH, on behalf of herself and a:
class of persons similarly situated,                       CLASS ACTION

                         Plaintiff,                        COMPLAINT FOR BREACH OF
          v.                                               FIDUCIARY DUTY AND VIOLATION
                                                           OF ERISA DISCLOSURE
TEXTRON INC.; TERRENCE O'DONNELL;:                         REQUIREMENTS
DOUGLAS STEWART; NANCY GILMAN,:
AND; JOHN DOES 1-20,                                       JURY TRIAL DEMANDED

       Defendants.
_______________ X

                                            COMPLAINT

          Plaintiff Diana Leach ("Plaintiff'), on behalf ofherself and on behalfof a class consisting of

similarly situated participants and beneficiaries (the "Participants") ofthe Textron Savings Plan (the

"Plan"), by hers attorneys, alleges the following for her Complaint (the "Complaint"). The

allegations contained herein are based on the investigation of counsel, except for those allegations

pertaining to the Plaintiff, which are based upon personal knowledge. Plaintiffmay, after discovery

and/or disclosure proceedings in this case, seek leave to amend this Complaint to add new parties or

claims.

                                       NATURE OF ACTION

          1.     Plaintiff, who was a Participant in the Plan, brings this civil enforcement action under

Section 502(a) of the Employee Retirement Income Security Act ("ERISA"), 29 U.S.C. § 1132(a),

for plan-wide relief on behalf of a class consisting of all current and former Participants in the Plan

for whose individual accounts the Plan held shares of common stock of Textron Inc. (hereinafter

"Textron" or the "Company") at any time from December 31, 2006 to January 29,2009, inclusive



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(the period from December 31,2006 to January 29,2009, inclusive being hereinafter referred to as

the "Class Period"). Plaintiff brings this action on behalf of the Plan and the Class pursuant to

§ 502(a)(2) and (3) of ERISA, 29 U.S.C. § 1132(a)(2) and (3). As more fully set forth below,

Defendants breached their fiduciary duties to the Participants, including those fiduciary duties set

forth in ERISA § 404,29 U.S.C. § 1104, and Department ofLabor Regulations, including 29 C.F.R.

§ 2550. Defendants breached their fiduciary duties to the Participants in various ways, including, but

not limited to, (i) misrepresenting and failing to disclose material facts to the Participants in

connection with the administration of the Plan; (ii) failing to exercise their fiduciary duties to the

Participants solely in the interests ofthe Participants for the exclusive purpose ofproviding benefits

to Participants and their beneficiaries; (iii) failing to manage the Plan's assets with the care, skill,

prudence or diligence of a prudent person under the circumstances; (iv) imprudently failing to

diversify the investments in the Plan so as to minimize the risk oflarge losses; and (v) permitting the

Participants to continue to elect to invest their retirement monies in Textron common stock when the

market price ofTextron common stock was artificially inflated, when it was imprudent to do so, and

when the Participants were not provided with timely, accurate and complete information concerning

the Company as required by applicable law. As a result of these wrongful acts, pursuant to ERISA

§ 409(a), 29 U.S.C. § 1109(a), Defendants are personally liable to make good to the Plan the losses

resulting from each such breach of fiduciary duty. In addition, under § 502(a)(3) of ERISA (29

U.S.C. § I132(a)(3)), Plaintiff seeks other forms of appropriate equitable relief, including, without

limitation, injunctive relief and, as available under applicable law, imposition ofa constructive trust,

restitution, and other monetary relief. Insofar as any Defendant is sued alternatively as a knowing

participant in a breach of fiduciary duty for equitable relief, Plaintiff intends to proceed pursuant to

§ 502(a)(3) of ERISA, 29 U.S.C. § I132(a)(3).



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                                  JURISDICTION AND VENUE

       2.       Plaintiffs claims arise under and pursuant to ERISA § 502, 29 U.S.C. § 1132.

       3.       This Court has jurisdiction over this action pursuant to ERISA § 502(e)(1),29 U.S.C.

§ 1132(e)(I).

       4.       Venue    is proper in this       District   pursuant to ERISA         § 502(e)(2),   29

U.S.C. § 1132(e)(2), because this is a District where the Plan was administered, where breaches of

fiduciary duty took place and/or where one or more Defendants reside or may be found.

                                           THE PARTIES

       5.       Plaintiff is a resident of the State of Texas. Plaintiffwas a Participant in the Plan at

times relevant to the Complaint and maintained an investment in Textron common stock in her

individual account in one of the Plan during the Class Period.

       6.       Defendant Textron Inc. is a multi-industry company with a global network ofaircraft,

defense, industrial and finance businesses to provide customers with solutions and services around

the globe. The Company operates its business through five operating segments. Four of the

Company's operating segments represent its manufacturing businesses: Cessna, Bell, Textron

Systems and Industrial. The fifth segment consists of its Finance business. Cessna has four major

product lines: Citation business jets, Caravan single engine turboprops, Cessna single engine piston

aircraft and aftermarket services. Textron Systems provides products to the defense, aerospace and

general aviation markets. The Industrial segment includes the Company's Kautex, Greenlee, E-Z-GO

and Jacobsen businesses. The finance segment consists of Textron Financial Corporation, a

diversified commercial finance company. The Company is incorporated in Delaware and maintains

its principal place of business at 40 Westminster Street, Providence, RI 02903. Textron was a Plan

fiduciary and is liable herein because of its own conduct and inaction as Plan Sponsor, because ofits


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authority over Plan investment options, as well as under the doctrine ofrespondeat superior (because

the fiduciaries, identified below, were Textron employees). Additionally, the Company was a Plan

fiduciary at all relevant times because it was the Plan's administrator, as set forth in the Plan's 2007,

2008, and 2008 Forms ll-Ks.

        7.      At times relevant to this Complaint, Defendant Terrence O'Donnell ("O'Donnell")

was a plan fiduciary. Defendant Chaplin signed the Plan's Form l l-K Annual Report for the fiscal

year ended December 31, 2006, which was filed with the SEC on or about June 28, 2007 (the "2007

II_K,,), the Plan's Form l1-K Annual Report for the fiscal year ended December 31, 2007, which

was filed with the SEC on or about June 26, 2008 (the "2008 ll-K"), and the Plan's Form ll-K

Annual Report for the fiscal year ended December 31, 2008, which was filed with the SEC on or

about June 26, 2009 (the "2009 l l-K"), all on behalf of the Plan as the Company's Executive Vice

President and General Counsel. Defendant 0' Donnell signed each ofthe 2007 11-K, 2008 11-K and

2009 ll-K on behalf of Textron, as Plan Administrator for the Textron Savings Plan.

        8.      At times relevant to this Complaint, Defendant Douglas Stewart ("Stewart") served as

a Human Resources Compliance Officer for the Company. Defendant Stewart was a Plan fiduciary

at times relevant to this Complaint. Defendant Stewart signed the Plan's Form 5500 Annual

Return/Report ofEmployee Benefit Plan for the Plan for fiscal year 2007, dated on October 16,2008

(the "2007 5500") in his capacity as employer, plan sponsor or DFE and Defendant Stewart signed

the Plan's Form 5500 Annual ReturnlReport of Employee Benefit Plan for the Plan for fiscal year

2006, dated on December 6, 2007 (the "2007 5500") as both "plan administrator" and "as employer,

plan sponsor or DFE as applicable." Liability is only asserted against Defendant Stewart for such

periods of time as the Defendant Stewart acted as a fiduciary with respect to the Plan.

        9.      At times relevant to this Complaint, Defendant Nancy Gilman ("Gilman") served as a



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Plan fiduciary. Defendant Gilman signed the 2007 5500 as "plan administrator." Liability is only

asserted against Defendant Gilman for such periods oftime as Defendant Gilman acted as a fiduciary

with respect to the Plan.

        10.    John Does 1-20 were the committee(s) and individual members of any committee(s)

which administered the Plan on behalf of the Company. The identity of any committee(s) and the

members of any such committee(s) which was or were responsible for carrying out the provisions of

the Plan is currently not known. On information and belief, the Doe Defendants were directors

and/or officers of the Company and knew or should have known of the Company's problems as

described herein.

                              CLASS ACTION ALLEGATIONS

        11.    Plaintiff brings this action on her own behalf and as a class action pursuant to Rules

23(a), (b)(I) and/or (b)(2) and/or (b)(3) ofthe Federal Rules of Civil Procedure, on behalfofaclass

consisting of all current and former Participants in the Plan for whose individual accounts the Plan

held shares of Textron common stock (including in the form of Textron common stock or units of

the Textron Stock Fund (the "Fund"» at any time during the Class Period (the "Class").

        12.    The members of the Class are so numerous that joinder of all members                IS


impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiffbelieves that there are, at minimum,

hundreds of members ofthe Class. The Form 5500 Annual Return/Report ofEmployee Benefit Plan

for the Plan for fiscal year 2007 states that there were 41,617 Plan participants as of December 31,

2006 and there were 38,884 as of December 31, 2007.

        13.    Common questions of law and fact exist as to all members of the Class which

predominate over any questions affecting solely individual members of the Class. Among the


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questions of law and fact common to the Class are:

                   (a)    Whether Defendants were fiduciaries to Plaintiff and the other members of

                   the Class;

                   (b)    Whether Defendants breached their fiduciary duties to Plaintiffand the other

                   members of the Class;

                   (c)    Whether the Plan and its Participants were injured by such breaches; and

                   (d)    Whether the Class is entitled to damages and injunctive relief.

        14.        Plaintiffs claims are typical of the claims of the other members of the Class, as

Plaintiffand all the other members ofthe Class sustained injury arising out ofDefendants' wrongful

conduct in breaching their fiduciary duties and violating ERISA as complained of herein.

        15.        Plaintiff will fairly and adequately represent and protect the interests of the Class.

Plaintiff has retained able counsel with extensive experience in class action ERISA litigation. The

interests of Plaintiff are coincident with and not antagonistic to the interests of the other class

members.

        16.        Prosecution of separate actions by members of the class would create a risk of

inconsistent adjudications with respect to individual members of the class which would establish

incompatible standards of conduct for Defendants, or adjudications with respect to individual

members of the class would, as a practical matter, be dispositive of the interests of the other

members not parties to the adjudications or substantially impair or impede their ability to protect

their interests.

        17.        Questions of law and questions offact which are common to the members ofthe class

will predominate over any questions affecting only individual members, and a class action is superior

to other available methods for the fair and efficient adjudication of this Complaint, taking into


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account:

               (a)      the interest ofmembers ofthe class in individually controlling the prosecution

               or defense of separate actions;

               (b)      the extent and nature of any litigation concerning the controversy already

               commenced by or against members of the class;

               (c)      the desirability or undesirability ofconcentrating the litigation ofthe claims in

               the particular forum; and

               (d)      the difficulties likely to be encountered in the management of a class action.

       18.     Moreover, because the damages suffered by many ofthe Participants will be relatively

small, the expense and burden of individually litigating their rights would make it impossible to

individually redress the wrongs alleged herein.

       19.     The claims herein are under ERISA and related principles of federal common law

cannot be asserted by the plaintiffs in derivative actions against the company or in class actions

under securities law.

       20.     Under and as required by ERISA, Defendants carry insurance for claims asserted

herein that may not be available to the defendants in any other actions.

                                 DESCRIPTION OF THE PLAN

       21.     At all times relevant to this Complaint, the Plan was an employee benefit Plan within

the meaning of ERISA §§ 3(3) and 3(2)(A), 29 U.S.C. §§ 1002(3) and 1002(2)(A).

       22.     At all times relevant to this Complaint, the Plan was a "defined contribution" or

"individual account" Plan within the meaning of ERISA § 3(34),29 U.S.C. § 1002(34), in that the

Plan provided for individual accounts for each Participant and for benefits based solely upon the

amount contributed to the Participant's account, and any income, expenses, gains and losses, and any



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forfeitures of accounts of other Participants which were allocated to such Participant's accounts.

        23.    At all times relevant to this Complaint, the Plan provided a number of different

options for investment of the Plan's assets, including Textron common stock.

       24.     At all times relevant to this Complaint, Participants were allowed to direct the Plan to

purchase investments from among the investment options available under the Plan and allocate them

to their individual accounts.

       25.     The 2007 ll-K, 2008 ll-K and 2009 ll-K were each caused to be filed by Textron

Inc., in its capacity as Plan Administrator.

       26.     The 2007 ll-K, states, among other things:

                1.     Description of Plan

               General

               The Textron Savings Plan (the "Plan") is primarily an employee stock
               ownership plan covering all eligible domestic employees of Textron
               Inc. ("Textron"), as defined in the Plan. The remainder ofthe Plan is
               a profit-sharing and 401(k) plan. The Plan is subject to the provisions
               ofthe Employee Retirement Income Security Act of 1974 ("ERISA")
               and was amended and restated effective November 1, 1999, and
               further amended through 2005, to reflect the requirements of recent
               legislation affecting statutory changes and regulations and other plan
               changes.

               The Plan is currently administered under the terms of a Trust
               Agreement, dated December 1, 2004, with Fidelity Management
               Trust Company (the Trustee or Fidelity). Fidelity also serves as the
               Plan's recordkeeper.

               Investment Options

               Participants may elect to direct their employee contributions to the
               following funds: The Textron Stock Fund, PIMCO Total Return
               Fund, Vanguard High-Yield Corporate Fund, Fidelity Equity Income
               Fund, Vanguard Institutional Index Fund, Fidelity Blue-Chip Growth
               Fund, Fidelity Small Cap Stock Fund, Fidelity Diversified
               International Fund, Vanguard Developed Markets Index Fund,
               Vanguard Strategic Equity Fund, anumber ofFidelity Freedom Funds


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           (with various targeted retirement dates) and the Textron Stable Value
           Fund.

           Contributions

           Participants ofthe Plan are entitled to elect compensation deferrals up
           to 40% oftheir eligible compensation, within the limits prescribed by
           Section 401(k) of the Internal Revenue Code (the "Code").
           Participants may also contribute amounts representing distributions
           from other qualified employer retirement plans. Participants' pre-tax
           and after-tax contributions, which are matched 50% up to 5% of
           eligible compensation by Textron subject to certain ERISA
           restrictions and plan limits, are recorded when Textron makes payroll
           deductions from participants' wages.

                                            ***
           Effective January I, 2006, the Plan was amended to provide that
           newly eligible employees who do not affirmatively elect either to
           participate in the Plan or to decline participation in the Plan, will
           automatically be enrolled in the Plan, and will defer three percent of
           their eligible compensation into the Plan.

                                            ***
           Employer contributions are invested entirely in the Textron Stock
           Fund. Employees have the ability to subsequently reallocate matching
           contributions among any of the investment options offered in the
           Plan.

     27.   The 2008 II-K, states, among other things:

           1.      Description of Plan

           General

           The Textron Savings Plan (the "Plan") is primarily an employee stock
           ownership plan covering all eligible domestic employees of Textron
           Inc. ("Textron"), as defined in the Plan. The remainder ofthe Plan is
           a profit-sharing and 40 I(k) plan. The Plan is subject to the provisions
           ofthe Employee Retirement Income Security Act of 1974 ("ERISA")
           and was amended and restated effective November I, 1999, and
           further amended through 2007, to reflect the requirements of recent
           legislation affecting statutory changes and regulations and other plan
           changes.




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            The Plan is currently administered under the terms of a Trust
            Agreement, dated December I, 2004, with Fidelity Management
            Trust Company (the Trustee or Fidelity). Fidelity also serves as the
            Plan's recordkeeper.

            Investment Options

            Participants may elect to direct their employee contributions to the
            following funds: The Textron Stock Fund, PIMCO Total Return
            Fund, Vanguard High-Yield Corporate Fund, Fidelity Equity Income
            Fund, Vanguard Institutional Index Fund, Fidelity Blue-Chip Growth
            Fund, Fidelity Small Cap Stock Fund, Fidelity Diversified
            International Fund, Vanguard Institutional Developed Markets Index
            Fund, Vanguard Strategic Equity Fund, a number ofFidelity Freedom
            Funds (with various targeted retirement dates) and the Textron Stable
            Value Fund.

            Contributions

            Participants ofthe Plan are entitled to elect compensation deferrals up
            to 40% oftheir eligible compensation, within the limits prescribed by
            Section 401(k) of the Internal Revenue Code (the "Code").
            Participants may also contribute amounts representing distributions
            from other qualified employer retirement plans. Participants' pre-tax
            and after-tax contributions, which are matched up to 50% up to 5% of
            eligible compensation by Textron subject to certain ERISA
            restrictions and plan limits, are recorded when Textron makes payroll
            deductions from participants' wages.

                                            ***
            Effective January I, 2006, the Plan was amended to provide that
            newly eligible employees who do not affirmatively elect either to
            participate in the Plan or to decline participation in the Plan, will
            automatically be enrolled in the Plan, and will defer three percent of
            their eligible compensation into the Plan. An employee is eligible
            immediately when hired.

                                            ***
            Employer contributions are invested entirely in the Textron Stock
            Fund. Employees have the ability to subsequently reallocate matching
            contributions among any of the investment options offered in the
            Plan.

      28.   The 2009 I1-K, states, among other things:



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            1.     Description of Plan

            General

            The Textron Savings Plan (the Plan) covers all eligible domestic
            employees of Textron Inc. (Textron), as defined in the Plan. The Plan
            invests in the Textron Stock Fund along with other mutual funds and
            Guaranteed Investment Contracts. The portion that invests in the
            Textron Stock Fund is an employee stock ownership plan. The
            remainder of the Plan is a profit-sharing and 401(k) plan. The Plan is
            subject to the provisions ofthe Employee Retirement Income Security
            Act of 1974 (ERISA) and was amended and restated effective
            November 1, 1999, and further amended through 2009, to reflect the
            requirements of recent legislation affecting statutory changes and
            regulations and other plan changes.

            The Plan is currently administered under the terms of a Trust
            Agreement, dated December 1,2004 (as amended January 1,2009),
            with Fidelity Management Trust Company (the Trustee or Fidelity).
            Fidelity also serves as the Plan's recordkeeper.

            Investment Options

            Participants may elect to direct their employee contributions to the
            following funds: The Textron Stock Fund, PIMCO Total Return
            Fund, Vanguard High-Yield Corporate Fund, Vanguard Institutional
            Index Fund, Vanguard Institutional Developed Markets Index Fund,
            Vanguard Strategic Equity Fund, Fidelity Equity Income Fund,
            Fidelity Blue-Chip Growth Fund, Fidelity Small Cap Stock Fund,
            Fidelity Diversified International Fund, a number ofFidelity Freedom
            Funds (with various targeted retirement dates) and the Textron Stable
            Value Fund.

            Contributions

            Participants ofthe Plan are entitled to elect compensation deferrals up
            to 40% oftheir eligible compensation, within the limits prescribed by
            Section 401(k) ofthe Internal Revenue Code (the Code). Participants
            may also contribute amounts representing distributions from other
            qualified employer retirement plans. Participants' pre-tax and after-
            tax contributions, which are matched up to 50% up to 5% of eligible
            compensation by Textron subject to certain ERISA restrictions and
            plan limits, are recorded when Textron makes payroll deductions
            from participants' wages.

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               Eligible employees are subject to automatic enrollment on the 60th
               day after their date of hire, if they have not specifically elected to be
               excluded from the plan. The automatic enrollment is for 3% of
               eligible compensation per pay period. An employee who is
               automatically enrolled may elect to change or suspend their
               enrollment in the plan at any time.

                                                ***
               Employer contributions are invested entirely in the Textron Stock
               Fund. Employees have the ability to subsequently reallocate matching
               contributions among any of the investment options offered in the
               Plan.

       29.     The 2007 ll-K, 2008 ll-K, and 2009 ll-K also represent that approximately

$1,167,869,000 of the Plan's total investments of $2,367,593,000, or approximately 49% of the

investments of the Plan, were invested in Textron common stock as of December 31, 2006, that

approximately $1,611,547,000 ofthe Plan's total investments of$2,968,360,000, or approximately

54% of the investments of the Plan, were invested in Textron common stock as of December 31,

2007, and that approximately $389,220,000 of the Plan's total investments of$I,387,058,000, or

approximately 28% of the investments of the Plan, were invested in Textron common stock as of

December 31, 2008.

       30.     During the Class Period, the market price of Textron common stock was artificially

inflated due to the concealment of Textron's true financial and operating condition as described

herein. Throughout the Class Period, Textron common stock was not a prudent investment for the

Participants' individual retirement accounts under the Plan. If Defendants had made full disclosure

to the Participants of Textron's true financial and operating condition, as described herein, the

Participants would not have chosen Textron common stock as an investment option under the Plan to

the extent that they did. Indeed, had the truth been disclosed to the Participants, Textron common

stock would not have been chosen by many Participants as an investment option at all.



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                              ADMINISTRATION OF THE PLAN

       31.     Defendants, as fiduciaries of the Plan, were required by ERISA to furnish certain

information to Participants. For example, ERISA Section 101 (29U.S.C. § 1021) requires the Plan's

Administrator to furnish Summary Plan Descriptions ("SPD") to Participants. ERISA Section 102,

29 U.S.C. § 1022 provides that an SPD must apprise Participants of their rights and obligations

under a plan. In addition, every person who held Textron stock in a Plan account received annually a

Proxy Statement which purported to describe (including through the incorporation ofother company

documents) the business and operations of Textron, as well as important information concerning

Textron's Directors and senior executives.

       32.     At all times relevant to this Complaint, Defendants had the discretion to establish and

change the investment alternatives among which Participants could direct the investment of the

Plan's assets allocated to their accounts.

       33.     At all times relevant to this Complaint, Defendants had a duty to review the Plan's

investment policies and the selection and the performance of investment alternatives offered under

the Plan. There was no requirement that any assets ofthe Plan be invested in Company stock or that

Company stock be continued as an investment alternative.

       34.     At all times relevant to this Complaint, Defendants had a duty to obtain from the

Company information necessary for the proper administration of the Plan.

       35.     At all times relevant to this Complaint, Defendants were fiduciaries of the Plan as

defined by ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because they exercised discretionary

authority or control respecting management ofthe Plan or exercised discretionary authority or control

respecting management or disposition of assets and had discretionary authority or responsibility in

the administration of the Plan.



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        36.    Each Defendant is liable for the breaches of fiduciary duty of the other Defendants

under ERISA § 405, 29 U.S.C. § 1105.

                               BRACHES OF FIDUCIARY DUTY

        37.    As required by ERISA, Defendants issued one or more SPDs, each of which either

referred to or incorporated by reference the documents filed by Textron with the SEC under the

federal securities laws. These filings, however, contained numerous material misrepresentations and

omitted to state material facts which were necessary to make the statements which were made not

misleading.

        38.    In particular, Textron was an imprudent retirement investment for the Plan during the

Class Period because of, inter alia, the facts that:

               (a)     The Company's Class Period forecasts contained in the SPD or in documents

incorporated by reference in the SPDs were unreasonably over-optimistic in light of market

conditions;

               (b)     The Company's "record backlogs" contained in the SPD or in documents

incorporated by reference in the SPDs of Cessna orders were not as firm as Defendants' led

Participants to believe which undermined the reasonableness of the forecasts referenced above;

               (c)     The Company did not timely write down assets due to generally poor debt

management ensured that the assets of its finance segment were materially overstated;

               (d)     The Company's credit ratings would necessarily suffer as a result of material

overstatements in the Company's finance segment when the deterioration began to be reported to the

investing public;

               (e)     as a result of the above and other facts, the Company's projections were

skewed and its ability to generate future revenue were severely jeopardized;



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               (f)     the Company lacked the required internal controls, and, as a result, the

Company's projections were based upon defective assumptions; and,

               (g)     as a result ofthe above, the Company's stock was both artificially inflated nd

an imprudent retirement investment.

       39.     Defendants were not obligated by ERISA or by the Plan to discharge their duty to

provide information to Participants through the mechanism of incorporation of SEC filings.

Defendants could have fulfilled this duty by setting forth sufficient and accurate information in the

SPDs themselves, and updating such information as appropriate. Defendants chose, however, to

adopt the mechanism of incorporation of SEC filings into the SPDs, and the SEC filings contained

materially false and misleading information which caused loss to the Plan and the Participants as set

forth above.

       40.     At all relevant times, Defendants knew or should have known that Company stock

was an imprudent retirement investment for the Participants and the Plan.

       41.     At all relevant times, Defendants knew or should have known of the material

misrepresentations and omissions, including those filed with the SEC and incorporated by reference

in the SPDs.

                                  FACTUAL ALLEGATIONS

       42.     Before the start of, and during the Class Period, Textron played a role in Saddam

Hussein's wide-reaching scheme to profit from the Oil-for-Food program in which Textron paid

bribes to the Iraqi government. In late August of2007, Textron agreed to pay $1.15 million as part

of an agreement with the U.S. Department of Justice, and an additional $3.5 million to resolve

charges filed by the U.S. Securities and Exchange Commission in U.S. District Court in Washington.

       43.     On January 18,2007, the Company filed a Form 8-K with the SEC. The January 18,



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2007 Form 8-K contained as an exhibit, a press release the Company issued on January 18, 2007

entitled Textron Comments on Fourth Quarter 2006 Earnings Outlook. The press release stated, in

pertinent part, that the Company "has incurred additional costs related to its Bell Helicopter H-I

program during the fourth quarter of 2006. However, stronger financial performance at Cessna,

Textron Systems and Textron Financial, plus a lower tax rate, more than offset the additional H-I

costs booked in the quarter. This will result in reported fourth quarter earnings per share from

continuing operations in excess of the company's previous guidance range of $1.35 - $1.45."

(emphasis added).

       44.     On April 19, 2007, the Company filed a Form 8-K with the SEC. The April 19, 2007

Form 8-K contained as an exhibit a press release the Company issued on April 17,2007 entitled

"Textron Delivers Strong First Quarter Results; Reports EPS from Continuing Operations of$I.55

compared to $1.19 a Year Ago; Books 122 New Business Jet Orders; Increases 2007 Expected EPS

from Continuing Operations Range by $0.20". The press release stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) today reported a 30% increase in earnings
               per share from continuing operations on a 12.6% revenue increase.
               The company also raised earnings guidance for 2007, reflecting
               continued expectations of solid top-line growth and strong
               operational performance.

               "We outperformed again this quarter with strong organic revenue
               growth and improved profitability," said Textron Chairman, President
               and CEO Lewis B. Campbell. "Demand for our products and further
               improvements in enterprise management continue to drive enhanced
               results," Campbell added.

                                               ***
               Revenues at Cessna increased $99 million primarily due to Citation
               business jet mix and favorable pricing.

               Segment profit increased $38 million as a result ofhigher pricing and
               mix, partially offset by inflation and increased development expenses.



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              Cessna's backlog increased to $9.0 billion at the end of the first
              quarter from $8.5 billion at the end of last year.

       45.    On July 19,2007, the Company filed a Form 8-K with the SEC. The July 19,2007

Form 8-K contained as an exhibit a press release the Company issued on July 19, 2007 entitled

"Textron Reports Strong Second Quarter Results; EPS from Continuing Operations of $1.69

Compared to $1.34 a Year Ago; Increases 2007 Expected EPS Range by $0.25 and Free Cash Flow

by $50 Million; Board Authorizes Two-for-One Stock Split, 19% Increase to Annualized Dividend

Rate and New Share Repurchase Program." The press release stated in pertinent part as follows:

              Textron Inc. (NYSE: TXT) today reported a 26% increase in earnings
              per share from continuing operations on a 15% revenue increase. The
              company also raised earnings and cash flow guidance for 2007.

              "We experienced another strong quarter of solid revenue growth and
              improved profitability," said Textron Chairman, President and CEO
              Lewis B. Campbell. "Demand for our products and further
              improvements from our Enterprise Management initiatives continue
              to drive enhanced results," Campbell added.

                                             ***
              Textron's Board of Directors announced that it has approved a stock
              split, an increase in the common stock dividend and a new share
              repurchase program.

              "These actions by our Board demonstrate confidence in our ability to
              execute and underscore the company's commitment to value creation
              through a balanced strategy of growth and returning cash to the
              shareholder," said Campbell.

                                             ***
              (Per-share amounts are stated on a pre-split basis.)
              Campbell added, "Given the strength of demand for our innovative
              products and our progress in execution improvement thus far, we are
              raising our earnings and cash flow outlook for the year."

              Textron expects full-year 2007 revenues will be up about 12% from
              last year, while earnings per share from continuing operations are
              now expected to be between $6.35 and $6.55, $0.25 per share higher



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               than its previous guidance. Third quarter earnings per share from
               continuing operations are expected to be between $1.45 and $1.55.
               The company now expects full-year 2007 free cash flow to be in the
               range of $550 - $600 million, up $50 million from its previous
               expectation.

                                               ***
               Revenues at Cessna increased $198 million in the second quarter due
               to higher volume, primarily related to Citation jets, and pricing.
               Cessna delivered 95 Citation business jets in the quarter compared to
               76 in the second quarter of 2006. Segment profit increased $47
               million due to higher pricing and the impact of the higher volume,
               partially offset by inflation and increased product development
               expenses.

               Cessna's backlog increased to $10.4 billion at the end of the second
               quarter of 2007, compared to $9.0 billion for the last quarter.

       46.     On October 18,2007, the Company filed a Form 8-K with the SEC. The October 18,

2007 Form 8-K contained as an exhibit a press release the Company issued on October 18,2007.

entitled "Textron Reports Strong Third Quarter Results on 15% Year-Over- Year Revenue Growth;

EPS from Continuing Operations of$0.95 Compared to $0.68 a Year Ago; Increases Expected 2007

EPS from Continuing Operations Range by $0.22 and Free Cash Flow by $50 Million Books 609

New Business Jet Orders to Date." The press release stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) today reported a 40% increase in earnings
               per share from continuing operations on a 15% revenue increase.

               "Once again, we delivered an excellent quarter with strong organic
               revenue growth and improved profitability," said Textron Chairman,
               President and CEO Lewis B. Campbell. "Our sustained strong
               operating performance allowed us to exceed our financial targets
               while continuing to invest in our longer-term growth."

               Third quarter 2007 revenue was $3.3 billion, up 15% from last year.
               Third quarter 2007 income from continuing operations was $0.95 per
               share, compared to $0.68 in the third quarter of 2006. Including
               discontinued operations, third quarter 2007 net income was $1.00 per
               share compared to $0.66 a year ago.




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                                              ***
              Campbell added, "We see strong end-market demand continuing
              through the rest of the decade, which in concert with the benefits of
              our ongoing Transformation strategy, positions us to deliver
              significant growth in earnings, cash flow and shareholder value."

                                              ***
              Revenues at Cessna increased $218 million due to higher volume,
              primarily related to Citation business jets, and higher pricing.

              Segment profit increased $60 million due to higher pricing and
              volume, partially offset by inflation and increased product
              development expenses.

              Cessna's backlog hit another all-time high of$II.9 billion at the end
              of the third quarter of 2007, up $1.5 billion from the end of the
              second quarter.

                                              ***
              Revenues in the Finance segment increased $2 million primarily due
              to an increase in securitization and other fee income and higher
              average finance receivables. These increases were largely offset by
              the impact of a transaction in 2006 associated with a leveraged lease
              asset and market pricing pressures.

              Profit in the Finance segment increased $1 million due to an increase
              in securitization and other fee income and a decrease in the provision
              for losses, partially offset by the impact of the 2006 leveraged lease
              transaction and higher operating expenses. The decrease in provision
              for losses is primarily attributable to lower growth in the receivable
              portfolio during the third quarter of 2007.

       47.    On January 24,2008, the Company filed a Form 8-K with the SEC. The January 24,

2008 Form 8-K contained as an exhibit a press release the Company issued on January 24, 2008

entitled "Textron Reports 32 Percent Increase in Fourth Quarter Earnings Per Share on 18 Percent

Revenue Growth; Reports EPS from Continuing Operations of$I.02 compared to $0.77 a Year Ago;

Books 164 New Business Jet Orders During Fourth Quarter; Sets New Record with 773 Jet Orders in

2007; Announces Approval of Large Cabin Citation Jet; Expects 2008 EPS from Continuing



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Operations Range of$3.75 to $3.95; Up from $3.59 in 2007." The press release stated in pertinent

part as follows:

               Textron Inc. (NYSE: TXT) today reported strong fourth quarter
               results with a 32% increase in earnings per share from continuing
               operations on an 18% revenue increase. Cash flow provided by
               continuing operations for the full-year was $1.2 billion, resulting in
               free cash flow of $796 million. The company generated a 24.8%
               return on invested capital for 2007, up 800 basis points from last year.

               "Our fourth quarter culminates a year of powerful performance at
               Textron on many fronts. The positive impact of our ongoing journey
               to become the premier multi-industry company is apparent in our top-
               line growth and our ability to convert that growth into profits and
               premium shareholder returns," said Textron Chairman, President and
               CEO Lewis B. Campbell.

               Fourth quarter 2007 income from continuing operations was $1.02
               per share, compared to $0.77 in the fourth quarter of2006. Including
               discontinued operations, fourth quarter 2007 net income was $1.00
               per share compared to $0.76 a year ago. Fourth quarter 2007 revenue
               was $3.8 billion, compared to $3.2 billion last year.

               Full-year 2007 income from continuing operations was $3.59 per
               share, compared to $2.71 a year ago. Including discontinued
               operations, 2007 full-year net income was $3.60 per share, compared
               to $2.31 last year.

                                                ***
               2008 Outlook

               Textron expects 2008 revenues to be about $15 billion, up 13%, and
               earnings per share to be between $3.75 and $3.95. First quarter
               earnings per share are forecasted to be between $0.75 and $0.85 per
               share. Textron's outlook fully includes the 2008 development costs
               for the large cabin Citation program.

               The company expects 2008 free cash flow in the range of$700 - $750
               million, reflecting expected capital expenditures of about $550
               million.

               Campbell commented, "While we expect softening and maybe even a
               temporary downturn in the U.S. economy in 2008, we believe we are
               particularly well positioned given our strong aircraft and military
               backlogs and history ofprudent underwriting at Textron Financial.


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              Even with the softer U.S. economy, we expect another banneryear
              ofbusinessjet orders exceeding currentyear deliveries. Given that
              our jet backlog already extends well into 2009, this bodes wellfor
              continued, uninterrupted growth well into the next decade at
              Textron. " [emphasis added]

                                               ***
              Cessna revenues and segment profit increased $329 million and $75
              million, respectively, in the fourth quarter of 2007. Revenues
              increased due to higher volumes and higher pricing. Segment profit
              increased due to the higher pricing, the impact of higher volume and
              favorable warranty performance, partially offset by inflation and
              increased product development expense.

       48.     On April 17,2008, the Company filed a Form 8-K with the SEC. The April 17,2008

Form 8-K contained as an exhibit a press release the Company issued on April 17,2008 entitled

"Textron Reports First Quarter EPS from Continuing Operations of$0.93, up 19.2 percent; Books

235 New Business Jet Orders; Record $22 Billion Aircraft and Defense Backlog Signals Strong

Growth for Years to Come." The press release stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) today reported strong first quarter results
               with a 19.2 percent increase in earnings per share from continuing
               operations on a revenue increase of 18.7 percent. Cash flow provided
               by operating activities of continuing operations for the quarter was
               $158 million, resulting in free cash flow of $78 million.

               "Global demand continues to be brisk across our aircraft and defense
               businesses, which led to another significant expansion in our backlog
               during the quarter," said Textron Chairman, President and CEO
               Lewis B. Campbell. "We also had strong performance in our
               manufacturing operations, which is important as we expand our
               capacity to meet growing requirements for our products and services,"
               Campbell added.

               First quarter 2008 income from continuing operations was $0.93 per
               share, compared to $0.78 in the first quarter of 2007. Including
               discontinued operations, first quarter 2008 net income was $0.91 per
               share compared to $0.77 a year ago. First quarter 2008 revenue was
               $3.5 billion, compared to $3.0 billion last year.




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               Reflecting strong demand in aircraft and defense, combined backlog
               at Cessna, Bell Helicopter and Textron Systems increased to $22.0
               billion at the end of the quarter, up from $18.8 billion at the end of
               2007.

               2008 Outlook

               Textron now expects 2008 earnings per share from continuing
               operations to be between $3.80 and $4.00, up $0.05 per share from
               our previous forecast. Second quarter earnings per share are expected
               to be between $0.90 and $1.00 per share. The company continues to
               expect free cash flow for the year in the range of$700 - $750 million.

                                                '" '" '"
               Cessna's revenues increased $278 million in the quarter from last
               year's same period reflecting delivery of95 business jets compared to
               67 in last year's first quarter, improved pricing and revenues from the
               acquisition of Columbia Aircraft.

               Segment profit increased $52 million, reflecting higher volumes,
               improved pricing and favorable warranty performance, partially offset
               by inflation and increased engineering and product development
               expense.

               Cessna backlog at the end of the first quarter was $14.5 billion, up
               from $12.6 billion at year-end 2007.

       49.     On June 13,2008, the Company filed a Form 8-K with the SEC. The June 13,2008

Form 8-K contained as an exhibit a press release the Company issued on June 13,2008 entitled

"Textron Updates Second Quarter EPS Forecast and Reaffirms Full-Year Forecast." Textron

announced it would lower its earnings forecast for Q2 2008 because of significantly lower finance

segment results. The press release stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) reported today that it now expects 2008
               second quarter earnings per share from continuing operations to be in
               the range of $0.93 to $0.98, compared to its previous forecast of
               $0.90 to $1.00. The company continues to forecast full-year earnings
               per share from continuing operations in the range of $3.80 to $4.00
               and free cash flow of $700 - $750 million.




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                The company said that profit in its Finance segment would be
                significantly less than previously forecast. Lower profitability in
                Finance will result from higher second quarter pre-tax loan loss
                provisions of about $20 million and a pre-tax charge of about $10
                million that will be recorded in the quarter related to Sale-In, Lease-
                Out (SILO) transactions previously challenged by the IRS. Weaker
                profit at Finance in the second quarter and for the full-year is
                expected to be offset primarily by higher profits in the aircraft and
                defense businesses.

                "Despite further softening in our commercial finance business, 2008
                is shaping up to be another very good year for Textron overall as we
                continue to see strong demand and performance at Cessna, Bell
                Helicopter and Textron Systems," said Textron Chairman, President
                and CEO Lewis B. Campbell.

        50.     On July 17,2008, the Company filed a Form 8-K with the SEC. The July 17,2008

Form 8-K contained as an exhibit a press release the Company issued on July 17,2008 entitled

"Textron Reports Second Quarter EPS from Continuing Operations of$I.03; Record $23.5 Billion

Aircraft and Defense Backlog; Manufacturing Businesses Post 16% Organic Growth." The press

release stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) today reported solid second quarter
               results with a 21 percent increase in earnings per share from
               continuing operations on a revenue increase of 21 percent. Year-to-
               date cash flow provided by operating activities of continuing
               operations was $413 million, resulting in free cash flow of $220
               million.

               "We achieved 19% organic growth in our aerospace and defense
               businesses, as global demand remained very strong and led to another
               record level ofbacklog," said Textron Chairman, President and CEO
               Lewis B. Campbell. "Likewise, we had double-digit organic growth at
               E-Z-GO, where our new golf car has been well received, and Fluid &
               Power where our energy-related products are in high demand,"
               Campbell added.

               Second quarter 2008 income from continuing operations was $1.03
               per share, compared to $0.85 in the second quarter of2007. Including
               discontinued operations, second quarter 2008 net income was $1.02
               per share compared to $0.83 a year ago. Second quarter 2008 revenue
               was $3.9 billion, compared to $3.2 billion last year.


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           Reflecting continued strong demand in aircraft and defense,
           combined backlog at Cessna, Bell Helicopter and Textron Systems
           increased to $23.5 billion at the end of the quarter, up from $18.8
           billion at the end of last year.

           2008 Outlook

           Textron continues to expect 2008 earnings per share from continuing
           operations to be between $3.80 and $4.00 per share. The company is
           initiating its third quarter earnings forecast at $0.80 to $0.90 per
           share. The company continues to expect free cash flow for the year
           will be in the range of $700 to $750 million.

           Segment Results

           Cessna

           Cessna's second quarter revenues increased $298 million over last
           year's same period, reflecting delivery of 117 business jets compared
           to 95 in 2007, improved pricing and a benefit from the Columbia
           Aircraft Manufacturing Corporation acquisition.

           Segment profit increased $62 million due to the impact from higher
           volume, improved pricing, partially offset by inflation, and increased
           engineering and product development expense.

           Cessna backlog at the end ofthe second quarter was $16.0 billion, up
           $3.4 billion from the end of last year, reflecting 437 Citation jet
           orders in the first half.

                                           ***
           Finance segment revenues decreased $62 million primarily due to
           lower market interest rates and a decrease in fee income, which
           reflected last year's $21 million gain from the sale of a leveraged
           lease, offset by $5 million in higher securitization gains this year.
           Revenues were also reduced to reflect the estimated impact on the
           company's leveraged lease portfolio related to a court decision
           involving other companies addressing the tax treatment of Sale-In,
           Lease-Out (SILO) transactions.

           Profit in the Finance segment decreased $55 million due to an
           increased provision for loan losses, the decrease in fee income, which
           reflected last year's $21 million gain, the impact ofhigher borrowing
           costs relative to various market rate indices and the SILO adjustment.
           These reductions in profit were partially offset by a benefit from
           increased receivable yields on loans with interest rate floors and a


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               reduction in selling and administrative expenses. The increase in the
               provision for loan losses was primarily driven by a reserve
               established for one account in the golf finance portfolio and increased
               loan loss provisions in the distribution finance portfolio.

               The sixty-day plus delinquency percentage increased to 0.61 percent
               of finance receivables from 0.33 percent at the end ofthe first quarter.
               Nonperforming assets (NPA) increased to 2.31 percent of total
               finance assets from 1.84 percent at the end of the first quarter.

       51.     The truth began to emerge leading up to the filing of the Company's Form 8-K

October 16, 2008 which contained as an exhibit a press release the Company issued on October 16,

2008 entitled "Textron Reports Third Quarter EPS from Continuing Operations of$0.85; Strategic

Actions Announced, Led by TFC Downsizing Maintains Record Aircraft & Defense Backlog."

Before the press release, on or about September 16, 2008, analysts at thestreet.com downgraded

Company stock noting "weaknesses including poor profit margins, a generally disappointing

performance in the stock itself and generally poor debt management." Additionally, the stock fell

heavily after a Reuters report on September 26, 2009 noted that the consensus earnings for Textron

were $0.89, down six cents from the third quarter ofthe previous year. On September 29,2008 (the

trading day after the Reuters consensus earnings were reported, the Textron closed at $27.5 per share,

down 16.5% from its open of$32.95 per share on September 26,2009.

       52.     The Press Release attached to the Company's October 16,2008 Form 8-Kconfirmed

thestreet.com's downgrade, and stated in pertinent part as follows:

               Textron Inc. (NYSE: TXT) today reported third quarter 2008 income
               from continuing operations of $210 million or $0.85 per share,
               compared to third quarter 2007 income from continuing operations of
               $225 million or $0.88 per share. Last year's result included a one-
               time gain related to an insurance settlement, worth about $0.05 per
               share.

                                                ***


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           "Strength in our aircraft and defense businesses offset weaker than
           expected performance in the finance business arising from the
           challenging economic environment," said Textron Chairman,
           President and CEO Lewis B. Campbell. "We remain committed to
           achieving strong performance results at our aircraft and defense
           businesses as we work through the issues facing us in our other
           segments," Campbell added.

           Combined backlog at Cessna, Bell and Defense & Intelligence
           remained at a record $23.5 billion at the end of the quarter.

                                          ***
           Strategic Actions

           Campbell announced, "Given the sustained turmoil in world credit
           markets we are taking a number of strong and measured steps,
           including:

              o   a downsizing of Textron Financial Corporation (TFC),

              o   a strengthening of our already strong capital and liquidity
                  positions,

              o   and an accelerated cost reduction program across the
                  company."

           The first action is to reduce the size ofTFC, Textron's commercial
           finance business. The company will be exiting its Asset Based
           Lending and Structured Capital segments, and several additional
           product lines through an orderly liquidation as market conditions
           allow. TFC will also limit new originations in its Distribution
           Finance, Golf, and Resort portfolios, consistent with maintaining
           franchise value and our commitment to service existing credit-worthy
           customers.

           As a result of the decision to downsize TFC, Textron expects to take
           a non-cash impairment charge in the fourth quarter of up to $169
           million, which represents the current goodwill balance at TFC. The
           company will also incur restructuring charges for headcount
           reductions and consolidations.

           Textron will make capital contributions to TFC, as appropriate, to
           strengthen TFC's capital structure and to maintain certain minimum
           requirements under TFC's committed credit facilities and Textron's
           support agreement with TFC.



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           "Going forward, we will continue to carefully evaluate the
           appropriate range of remaining lending activities at TFC in light of
           strategic fit and continuing developments in the capital markets, all in
           a manner that maximizes value for shareholders in any current or
           future financial market scenarios," Campbell noted.

            In order to maximize funding predictability in the current
            environment, Textron has suspended its share repurchase program
            and is exploring a number of options to reduce a portion of its
            outstanding commercial paper funding.

           Finally, Textron is initiating an accelerated overhead cost reduction
           and productivity improvement program across the enterprise.
           Including restructuring costs at TFC, the company expects total
           restructuring charges of about $25 million, with most of the charges
           occurring in the fourth quarter. Annualized benefits associated with
           the charges are estimated to be $40 million.

            Segment Results

            Cessna

           Cessna's third quarter revenues and segment profit increased $150
           million and $16 million, respectively, compared with the third quarter
           of2007. Revenues increased due to higher volume and pricing, along
           with the benefit from an acquisition. The increase in volume reflects
           higher jet and Caravan deliveries, partially offset by lower used
           aircraft sales. Cessna delivered 124jets in the quarter, compared with
           103 jets last year.

           Segment profit increased due to higher volumes and pricing in excess
           of inflation, partially offset by higher engineering and product
           development expense and higher overhead costs.

           Cessna backlog at the end ofthe third quarter was $15.6 billion, up $3
           billion from the end oflast year, reflecting 484 jet orders taken year-
           to-date, with 47 jet orders in the quarter.

                                            ***
           Finance

           Finance revenues decreased $30 million in the third quarter, due to
           lower market interest rates partially offset by the benefits of higher
           volume and interest rate floors. Segment profit decreased $36 million
           due to an increase in the provision for loan losses and higher
           borrowing costs, partially offset by the benefit of interest rate floors.


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                Borrowing costs increased relative to the target Federal Funds rate as
                credit market volatility continued during the quarter. The increased
                borrowing costs were driven by a widening in the spread between
                LIBOR and the target Federal Funds rate and, to a lesser extent, from
                increased borrowing spreads on debt in comparison with 2007. These
                increases were substantially offset by increased receivable pricing as a
                result of variable-rate receivables with interest rate floors.

                Sixty-day plus delinquencies increased to 1.06 percent of finance
                receivables from 0.61 percent at the end of the second quarter.
                Nonperforming assets increased to 2.67 percent oftotal finance assets
                from the second quarter level of 2.31 percent.

                2008 Outlook

                Excluding goodwill impairment and restructuring charges, Textron
                expects fourth quarter 2008 earnings per share from continuing
                operations will be between $0.80 and $0.90 per share. GAAP
                earnings per share from continuing operations are expected to be
                between $0.04 and $0.14 per share. The company continues to expect
                free cash flow for the year will be in the range of $700 to $750
                million.'

                Campbell concluded, "The economic environment will continue to be
                uncertain over at least the next several quarters. However, we believe
                the actions we are taking, combined with our government programs
                and aircraft backlog, position us to perform well through these
                difficult times."

        53.     Also on October 16, 2008, a news release issued by Brian Foley Associates, an

industry expert in business aviation consulting, issued a press release entitled "Latest Industry

Delivery Forecasts Unrealistic Predictions Unveiled at NBAA Too Optimistic" warning, among

other things, that:

                recent delivery forecasts outdated the day they were published,
                Brian Foley Associates (BRiFO) asserts that the future will not be                  I

                as rosy as others predict. "If they haven't already, new aircraft
                orders are poised to fall offa cliff. Who in their right mind would
                part with tens of millions of dollars in this economic environment
                to buy an aircraft?" warns BRiFO consultancy President Brian
                Foley.

                "The record order books will not be as firm as OEMs would like to


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               think, and we're warning our clients to expect double-digit
               percentage order cancellations depending on the manufacturer.
               Those OEMs with an exposure to start-up charter, air taxi and
               fractional programs are most at risk, as are those who always
               seemed to have near-term delivery positions available while the
               rest of the industry had multi-year waits." [emphasis added].

       54.     In response, analysts downgraded Textron, which fell 17% to $15.52 per share.

       55.     On December 22, 2008, the Company announced a plan to exit all of Textron

Financial Corporation's commercial finance business through a combination of orderly liquidation

and selected sales, other than that portion of the business supporting the financing of customer

purchases of Textron-manufactured products.

       56.     The Company's stock plunged twenty percent following the announcement. Based on

that news, Textron stock the next day, December 23, 2008 plunged $3.14, or 20 percent, to $12.20 at

4:01 p.m. in New York Stock Exchange composite trading. It was the largest once day percentage

loss for Textron stock since Sept. 26, 2001.

       57.     Summarizing the problems that Defendants knew or should have known of

throughout the Class Period, and which would soon be revealed to the Plan's participants, in a

January 21,2009 article entitled "Corporate News: Business-Jet Demand Is Stalling --- After a Five-

Year Climb, Orders Slow Sharply and Cancellations Are Up" The Wall Street Journal reported that:

               Demand for multimillion-dollar business jets is arcing back to earth
               after a five-year climb, bringing an end to the industry's biggest
               boom.

               Corporate jets are getting less use as global business activity drops off
               and companies cut back perks like private jet travel. Orders have
               slowed sharply and cancellations are increasing as the buyers that
               fueled the ascent in Asia, the Middle East, the U.S. and Europe come
               under pressure.

               The biggest hit could come from a shakeout among fleet buyers, the
               fledgling charter operators, air-taxi services and fractional-ownership
               providers -- many of them startups -- that sprang up when the world


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              economy was humming along. A drop in orders or rise in
              cancellations could hurt manufacturers like Canada's Bombardier Inc.,
              Brazil's Embraer S.A and Textron Inc.'s Cessna.

              "The market is going down so fast that we're all getting bloody
              noses," said Brian Foley, a New Jersey-based consultant. He expects
              cancellations to reach double-digit levels in 2009, followed by a very
              slow recovery.

              Cessna, the biggest business-jet maker in terms of numbers,
              announced last week that it would lay off2,000 workers -- in addition
              to the 500 jobs it cut in December -- to "ensure our long-term stability
              and success" as customers defer orders.

              Analysts expect more details from aircraft makers and their suppliers,
              which will report fourth-quarter earnings in coming weeks. Textron
              reports earnings Jan. 29, with Honeywell International Inc. following
              on Jan. 30 and fellow supplier Rockwell Collins Inc. on Feb. 3.
              Hawker Beechcraft, which is jointly owned by Toronto-based Onex
              Corp. and Goldman Sachs Group, is expected to report next month.

              Fleet orders have grown from an occasional presence in
              manufacturers' order books to a key presence, with many coming
              from companies that have yet to prove their staying power, Mr. Foley
              said.

              "Where previous order books were speckled with fleet orders from a
              handful of fractional providers, current order books sport a cadre of
              unproven, startup-fleet purchasers launching amid a world-wide
              recession," he said.

                                               ***
              "These times may one day be remembered in our industry as the 'jet'
              bust, analogous to the 'dot-com' bust ofyesteryear, " Mr. Foley said in
              a recent report.

       58.    On January 29, 2009 the Company issued a press release entitled "Textron Reports

Fourth Quarter and Full-Year Financial Results." The press release stated in pertinent part as

follows:

              Textron Inc. (NYSE: TXT) today reported fourth quarter 2008
              income from continuing operations, excluding special charges, of
              $0.40 per share, consistent with its December 22, 2008 press release.



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            Revenues in the quarter were $3.6 billion, up slightly compared to the
            fourth quarter of 2007.

           On a GAAP basis, Textron reported a loss from continuing operations
           for the quarter of $348 million or $1.44 per share, as compared to
           fourth quarter 2007 income from continuing operations of $247
           million or $0.97 per share. Including discontinued operations,
           Textron's fourth quarter 2008 net loss was $209 million or $0.87 per
           share, compared with fourth quarter 2007 net income of$256 million
           or $1.00 per share.

           On December 22, 2008, the company announced a plan to exit all
           non-captive financial business. As a consequence, in the quarter,
           Textron recorded a number of special charges including a $293
           million pre-tax mark-to-market adjustment against finance
           receivables held for sale, a $169 million pre-tax impairment charge to
           eliminate Textron Financial Corporation's (TFC) goodwill and a $31
           million tax charge related to the change in investment status ofTFC's
           Canadian subsidiary. Textron also recorded a pre-tax restructuring
           charge of $64 million related to cost-saving initiatives across the
           enterprise.

           For the full year, Textron's Manufacturing group generated net cash
           from operating activities before capital contributions to and net
           dividends from TFC of $899 million and incurred capital
           expenditures of $542 million.

           TFC paid Textron net dividends of $142 million during the year.
           During the fourth quarter Textron made a $625 million capital
           contribution into TFC to maintain the earnings to fixed charge
           coverage ratio under the support agreement between Textron and
           TFC. Cash flow from operations for the Manufacturing group under a
           GAAP basis totaled $416 million as compare to $1.2 billion for 2007.

           "Economic conditions continued to weaken during the fourth quarter,
           significantly impacting our Industrial and TFC businesses," said
           Textron Chairman and CEO Lewis B. Campbell. "However, for the
           year, we had strong performance at Bell, Cessna and Textron
           Systems," Campbell added.

                                            ***
           Outlook

           Looking to 2009, the company expects the economy will continue to
           impact results at TFC and result in lower volumes at Cessna and



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           Industrial. On this basis, the company estimates 2009 revenues will
           be approximately $12.5 billion, free cash flow from continuing
           operations ofthe manufacturing group will be about $450 million and
           earnings per share from continuing operations will be in the range of
           $1.00 to $1.50, excluding expected pre-tax restructuring charges of
           about $40 million.
                                           ... ...   ...

            Segment Results

           Cessna

           Cessna's fourth quarter revenues and segment profit decreased $64
           million and $90 million, respectively, compared with the fourth
           quarter of 2007. Revenues decreased in spite of the sale of more jet
           units, primarily reflecting a higher proportion of Mustang sales. This
           decrease was partially offset by higher pricing and the benefit from
           the acquisition of the Columbia single engine product lines.

           Segment profit decreased due to used aircraft valuation adjustments,
           the impact from lower revenue mix, higher product development
           expense and overhead costs.

            Cessna backlog at the end ofthe fourth quarter was $14.5 billion, up
            $1.9 billion from the end of last year.
                                           ... ... ...

           Finance revenues decreased $64 million in the fourth quarter due to
           lower market interest rates, and lower securitization gains which were
           partially offset by the benefit of interest rate floors.

           Segment profit decreased $171 million as a result of increased loan
           loss provisions, higher borrowing costs and lower securitization
           gains, partially offset by the benefit of interest rate floors.

           Increased loan loss provisions reflected weakening general market
           conditions, declining collateral values and the lack of liquidity
           available to our borrowers and their customers. These provisions also
           incorporated estimates for an increase in expected credit losses
           resulting from TFC's exit plan.

           Sixty-day plus delinquencies increased to 2.59% from 1.06% at the
           end of the third quarter. Nonperforming assets increased to 4.72%
           compared to 2.67% in the third quarter.



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               Managed receivables ended the year at $10.8 billion, versus $11.4
               billion at the end of the third quarter.

        59.    In response to the news, Textron common stock fell 32% to $9.09 per share.

       60.     At various times during the Class Period, the artificial inflation was released from

Textron stock, which opened Class Period trading on December 31, 2006 at $46.89 per share (split

adjusted, and the last trading day before the Class Period was December 29,2006) and closed on

January 29, 2009 at $9.09 per share, down $37.8 per share, or almost 81%.

       61.     Post Class Period revelations confirm the imprudence ofthe Textron Stock Fund for

the Plan.

       62.     On February 5, 2009, analysts at J.P. Morgan cut their rating on Textron to neutral

from overweight, citing liquidity concerns at the company's financial arm and a difficult

environment for divestitures. The broker said that the overweight rating on Textron is "tough to

support with current fundamentals, persistent concerns around liquidity and management's subpar

track record on execution."

       63.     On February 9, 2009, the Company announced that its chief financial officer Ted

French would step down immediately, Buell "Jay" Carter, and the head of subsidiary Textron

Financial Corp., was retiring. The Wall Street Journal noted that the "sudden departures [] follow

major fourth-quarter losses by the financial unit and the threat of a downgrade of the helicopter and

private-jet maker's credit rating."

       64.     On April 28, 2009 the Company issued a press release entitled "Textron Reports First

Quarter Earnings of$0.35 per Share; Ends Quarter with $1.7 Billion in Cash; Reduction of Finance

Portfolio Ahead of Plan." The press release recognized that there were 92 net Cessna cancellations

during the first quarter of2009 and the Company's finance segment profit was down $108 million as




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a result of increased loan loss provisions, lower securitization gains and lower other income, in part

related to the company's liquidation plan, partially offset by the benefit of interest rate floors.

        65.     Summing up years of problems at the Company, on July 21, 2009, Reuters reported

that Textron's credit ratings are teetering on the edge ofjunk territory, risk being downgraded ifthe

company falls behind in executing its financial plan, and that Fitch Ratings cut its ratings on Textron

and its financial arm into junk territory in April of 2009, that Moody's Investors Service the same

month cut Textron and Textron Financial to Baa3, the lowest investment grade, and gave the

company a negative outlook, indicating a downgrade into junk may be likely in the next 12 to 18

months. The article further reported that:

                Textron Inc's debt values and credit ratings risk coming under
                pressure if the diversified manufacturer falls behind schedule in
                shoring up liquidity and shrinking its lending arm.

                Providence, Rhode-Island-based Textron is seeking to unwind its
                noncaptive financial business as it grapples with higher loan losses at
                the same time as the world's largest maker of business jets' earnings
                have been hurt by a sharp falloff in demand.

                The company has slashed its dividend, raised new capital and
                committed to a time line to improving its liquidity, though concerns
                that the company may fall behind schedule have weighed as it also
                faces $2.3 billion in maturing debt in 2010, most of which is at its
                financial arm, Textron Financial Corp.

                            MISMANAGEMENT OF PLAN ASSETS

        66.     Pursuant to ERISA § 404(a), 29 U.S.C. § 1104(a), at all times relevant to this

Complaint, Defendants had a duty to discharge their duties with respect to the Plan with the care,

skill, prudence and diligence under the circumstances then prevailing that a prudent person acting in

a like capacity and familiar with such matters would use in the conduct of an enterprise of a like

character and oflike aims, and to diversify investments in the Plan so as to minimize the risk oflarge

losses, unless under the circumstances it is clearly prudent not to do so.


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          67.   Defendants are not entitled to the protections of ERISA § 404(c), 29 U.S.C.

§ 1104(c), because the Participants did not exercise independent control over their accounts, because

Defendants subjected them to improper influence with respect to the Plan's investments in Textron

common stock, and because Defendants concealed material non-public information concerning

Textron that they were not precluded from disclosing under applicable law.

          68.   Defendants breached their fiduciary duties in that they should have known the facts

alleged above and should have known that the Plan should not have invested in Textron common

stock during the Class Period.

    FIRST CLAIM: IMPRUDENT INVESTMENT IN TEXTRON COMMON STOCK
                      (AGAINST ALL DEFENDANTS)

          69.   Plaintiffrealleges and incorporates herein by reference the allegations set forth above.

          70.   Pursuant to ERISA § 409(a), 29 U.S.C. § 11O(a), any fiduciary who breaches any of

the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally liable to make

good to the Plan any losses to the Plan resulting from each breach and shall be subject to such other

equitable and remedial relief as the court may deem appropriate.

          71.   Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with respect

to the Plan solely in the interests of the Participants and for the exclusive purpose of providing

benefits to the Participants. Defendants' selection, monitoring, and continuation of the investment

alternatives under the Plan were subject to the above-described fiduciary duties. By their continuing

to offer Textron common stock as an investment under the Plan, when Textron's true adverse

financial and operating condition was being concealed, Defendants breached each ofthese fiduciary

duties.

          72.   In particular, Textron was an imprudent retirement investment for the Plan during the




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Class Period because of, inter alia, the facts that:

                (a)     The Company's Class Period forecasts contained in the SPD or in documents

incorporated by reference in the SPDs were unreasonably over-optimistic in light of market

conditions;

                (b)     The Company's "record backlogs" contained in the SPD or in documents

incorporated by reference in the SPDs of Cessna orders were not as firm as Defendants' led

Participants to believe which undermined the reasonableness of the forecasts referenced above;

                (c)     The Company did not timely write down assets due to generally poor debt

management ensured that the assets of its finance segment were materially overstated;

                (d)     The Company's credit ratings would necessarily suffer as a result of material

overstatements in the Company's finance segment when the deterioration began to be reportedto the

investing public;

                (e)     as a result of the above and other facts, the Company's projections were

skewed and its ability to generate future revenue were severely jeopardized;

                (t)     the Company lacked the required internal controls, and, as a result, the

Company's projections were based upon defective assumptions; and,

                (g)     as a result ofthe above, the Company's stock was both artificiallyinflated and

an imprudent retirement investment.

        73.     As a consequence ofDefendants' breaches, the Plan performed worse than a portolio

of the same size would have if it had been invested in prudent investments.

        74.     Defendants are individually liable to make good to the Plan any losses to the Plan

resulting from each breach.

        75.     Pursuant to ERISA § 502(a)(3), 11 U.S.c. § 1132(a)(3), the Court should also award



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appropriate equitable relief, including in the form of restitution.

                  SECOND CLAIM: MATERIAL MISREPRESENTATION
                           (AGAINST ALL DEFENDANTS)

        76.     Plaintiffrealleges and incorporates herein by reference the allegations set forth above.

        77.     Pursuant to ERISA § 409(a), 29 U.S.C. § 110(a), any fiduciary who breaches any of

the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally liable to make

good to the Plan any losses to the Plan resulting from each breach and shall be subject to such other

equitable and remedial relief as the court may deem appropriate.

        78.     Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with respect

to the Plan solely in the interests of the Participants and for the exclusive purpose of providing

benefits to the Participants.

        79.     Defendants breached these fiduciaries in that they made material misrepresentations

and nondisclosures as alleged above.

        80.     In particular, the Plan's fiduciary communications (such as SPDs) and SEC filings

during the Class Period, including its proxy statements and SEC filings on Forms 10-Q IO-K and 8-

K, which were incorporated into the SPDs, were materially false and misleading in that they

misrepresented the truth about the Company, and misleadingly concealed material adverse

information, including, inter alia, the facts that:

                (a)     The Company's Class Period forecasts were unreasonably over-optimistic in

light of market conditions;

                (b)     The Company's poor profit margins artificially inflated its stock prices;

                (c)     The Company's generally poor debt management ensured that the assets ofits

finance segment were materially overstated;




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                (d)     The Company's credit ratings would necessarily suffer as a result ofmaterial

overstatements in the Company's finance segment;

                (e)     as a result ofthe above, the Company's projections were skewed and its ability

to generate future revenue were severely jeopardized;

               (f)      the Company lacked the require internal controls, and, as a result, the

Company's projections were based upon defective assumptions and/or manipulated facts;

                (g)     the Company lacked the necessary personnel to issue accurate financial reports

and projections; and,

               (h)      as a result ofthe above the Company's stock was both artificially inflated and

an imprudent retirement investment.

        81.    The Participants relied upon, and are presumed to have relied upon, Defendants'

material misrepresentations to their detriment,

        82.    As a consequence ofDefendants , material misrepresentations, the Plan suffered losses

and damages were suffered by the Plan because its performance was inferior to how it performed ifit

was invested in prudent investments

        83.    Defendants are individually liable to make good to the Plan any losses to or damages

suffered by the Plan resulting from each breach.

        84.    Pursuant to ERISA § 502(a)(3), 11 U.S.C. § I132(a)(3), the Court should also award

appropriate equitable relief, including in the form of restitution.

        THIRD CLAIM: NONDISCLOSURE/OMISSION OF MATERIAL FACTS
                       (AGAINST ALL DEFENDANTS)

       85.     Plaintiffrealleges and incorporates herein by reference the allegations set forth above

except paragraphs 76-84.




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         86.    Pursuant to ERISA § 409(a), 29 U.S.C. § 110(a), any fiduciary who breaches any of

the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally liable to make

good to the Plan any losses to the Plan resulting from each breach and shall be subject to such other

equitable and remedial relief as the court may deem appropriate.

         87.    Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with respect

to the Plan solely in the interests of the Participants and for the exclusive purpose of providing

benefits to the Participants.

         88.    Defendants breached these fiduciaries in that they made nondisclosures as alleged

above.

         89.    In particular, each and every fiduciary communication (including but not limited to

SPDs, newsletters, account statements) during the Class Period omitted material, relevant data and

other facts which were necessary for Plan participants to understand the true risk/return

characteristics of an investment Company stock, including, inter alia, the facts that:

         90.      In particular, Textron was an imprudent retirement investment for the Plan during

the Class Period because of, inter alia, the facts that:

                (a)     The Company's Class Period forecasts were unreasonably over-optimistic in

light of market conditions;

                (b)     The Company's poor profit margins artificially inflated its stock prices;

                (c)     The Company's generally poor debt management ensured that the assets ofits

finance segment were materially overstated;

                (d)     The Company's credit ratings would necessarily suffer as a result ofmaterial

overstatements in the Company's finance segment;

                (e)     as a result ofthe above, the Company's projections were skewed and its ability



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to generate future revenue were severely jeopardized;

               (f)      the Company lacked the require internal controls, and, as a result, the

Company's projections were based upon defective assumptions and/or manipulated facts;

               (g)      the Company lacked the necessary personnel to issue accurate financial reports

and projections; and,

               (h)      as a result ofthe above the Company's stock was both artificially inflated and

an imprudent retirement investment. The Company's Class Period forecasts were unreasonably over-

optimistic in light of market conditions;

       91.     The Participants relied upon, and are presumed to have relied upon, Defendants'

omissions to their detriment.

       92.     As a consequence of Defendants' omissions the Plan suffered losses and damages

were suffered by the Plan because its performance was inferior to how it performed ifit was invested

in prudent investments.

       93.     Defendants are individually liable to make good to the Plan any losses to or damages

suffered by the Plan resulting from each breach.

       94.     Pursuant to ERISA § 502(a)(3), 11 U.S.C. § I 132(a)(3), the Court should also award

appropriate equitable relief, including in the form of restitution.

                          FOURTH CLAIM: DIVIDED LOYALTY
                     (AGAINST THE INDIVIDUAL DEFENDANTS ONLY)

       95.     Plaintiffrealleges and incorporates herein by reference the allegations set forth above.

       96.     Pursuant to ERISA § 409(a), 29 U.S.C. § 110(a), any fiduciary who breaches any of

the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally liable to make

good to the Plan any losses to the Plan resulting from each breach and shall be subject to such other




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equitable and remedial relief as the court may deem appropriate.

        97.     Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with respect

to the Plan solely in the interests of the Participants and for the exclusive purpose of providing

benefits to the Participants.

        98.     Defendants breached their fiduciary obligations when they acted in their own interests

rather than solely in the interests of the Participants and Beneficiaries.

        99.     As a consequence of these breaches, the Plan suffered losses and damages were

suffered by the Plan because its performance was inferior to how it performed if it was invested in

prudent investments.

        100.    Defendants are individually liable to make good to the Plan any losses to the Plan

resulting from each breach.

        101.    Pursuantto ERISA § 502(a)(3), 11 U.S.C. § 1132(a)(3), the Court should also award

appropriate equitable relief, including in the form of restitution.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for:

        A.      Actual damages in the amount measured by the difference between the

performance of Textron common stock in the plan during the Class Period compared to the

performance of a prudent investment that the Plan could have invested in during the Class

Period, with such damages to be allocated among the Participants' individual accounts in

proportion to the accounts' damages incurred by those accounts;

        B.      Appropriate equitable relief, including in the form of restitution;

        C.      Costs pursuant to 29 U.S.C. § 1132(g);

        D.      Attorneys' fees pursuant to 29 U.S.C. § 1132(g) and the common fund doctrine as



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well as reimbursement of costs and expenses incurred in litigating this action including expert

expenses; and,

         E.      Such other relief as the Court may deem equitable and just.

                                       JURY TRIAL DEMAND

         Plaintiff demands trial by jury of all issues to triable.

Dated:   AugUst~ 2009                              Respectfully submitted,


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